23-02-08f
TO: THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

U.S, District Court

MILWAUKEE DIVISION | Wisconsin Eastern
UNITED STATES OF AMERICA, _) | Eg -4 2023 | |
Plaintiff, ) ST eee
v. ) Case No. o20-ev-00621-be Sto aout
Mark Peters, )
and Rosemary Peters, )
Respondents. )

Regarding: Request for Hearing Date for > The Peter’s Motion to Compel Plaintiff for a
Full and Complete Discovery Response.

1. See accompanying ‘Motion to Compel from the Peters upon Plaintiff.
2. WHEREFORE, Respondeents request for a hearing date for the same.

Respectfully submitted; YW, Ms
2/8/2023 __ UL ,

Mark Peters,

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